









Dismissed and Memorandum Opinion filed May 20, 2004









Dismissed and Memorandum Opinion filed May 20, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00336-CR

____________

&nbsp;

SAMUEL WILBERT
JOHNSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
262nd District Court

Harris County,
Texas

Trial Court Cause No. 951,647

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated sexual assault
of a child .&nbsp; In accordance with the
terms of a plea bargain agreement with the State, on March 19, 2004, the trial
court sentenced appellant to confinement for twenty years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 20, 2004.

Panel consists of Justices Yates,
Anderson, and Hudson.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





